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 Counsel for Defendants

                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


 ANN LEWANDOWSKI, on her own behalf                    Civil Action No.: 3:24-cv-671-ZNQ-RLS
 and on behalf of all others similarly situated,

                Plaintiff,
                                                       Hon. Zahid N. Quraishi
 v.                                                    Hon. Rukhsanah L. Singh

 JOHNSON AND JOHNSON, THE PENSION
 & BENEFITS COMMITTEE OF JOHNSON
 AND JOHNSON, PETER FASOLO,
 WARREN LUTHER, LISA BLAIR DAVIS,
 and DOES 1-20.

                Defendants.


                  NOTICE OF MOTION FOR DEFENDANTS’ MOTION TO
                   DISMISS THE COMPLAINT AND STRIKE THE JURY
                                    DEMAND

         PLEASE TAKE NOTICE that on May 20, 2024, or a date to be selected by the Court,

  the undersigned attorney for Defendants shall move for an Order dismissing the Complaint and

  striking the jury demand;




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        PLEASE TAKE FURTHER NOTICE that in support of this motion, Defendants shall

 rely upon their Brief in Support of their Motion to Dismiss and Strike the Jury Demand and the

 Declaration of Jeffrey S. Chiesa and attached exhibits, which are being filed simultaneously

 herewith;

        PLEASE TAKE FURTHER NOTICE that a copy of a proposed form of Order

 accompanies the motion.


                                                   Respectfully submitted,

                                                   /s/ Jeffrey S. Chiesa
  April 19, 2024
                                                   Jeffrey S. Chiesa
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